             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                 CIVIL NO. 1:18-cv-00117-MR-WCM


UNITED STATES OF AMERICA,      )
                               )
              Plaintiff,       )
                               )
         vs.                   )
                               )
129 RESERVOIR RIDGE DRIVE,     )
CULLOWHEE, NORTH CAROLINA, )
                               )
              Defendant.       )
______________________________ )

                ORDER OF DEFAULT JUDGMENT AND
                  FINAL ORDER OF FORFEITURE

     THIS MATTER is before the Court on the Government’s Motion for

Default Judgment and Final Order of Forfeiture [Doc. 45].

     The Government seek the entry of a default judgment and final order

of forfeiture as to all persons and entities with respect to the Defendant

Property, other than JPMorgan Chase Bank, N.A. (“JPMorgan”), whose

interest was transferred, Flagstar Bank, FSB (“Flagstar”), whose claim was

resolved in the Consent Order issued March 31, 2020, and Mark Loren Miller,

whose interest was forfeited to the United States. [See Docs. 35, 41].

     After careful review, the Court will grant the Government’s motion.

Having dismissed the claim of Mr. Miller and granting the Government’s


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motion for summary judgment, and there being no further proceedings

necessary in this matter, the Court, pursuant to 18 U.S.C. § 981, 18 U.S.C.

§ 983, 18 U.S.C. § 985 and 21 U.S.C. § 881, now enters a Final Order and

Judgment of Forfeiture against the Defendant Property.

      IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that

the Government’s Motion for Default Judgment and Final Order of Forfeiture

[Doc. 45] is hereby GRANTED, and judgment is entered in favor of the

United States against all persons and entities in the world with respect to the

real property located at 129 Reservoir Ridge Drive, Cullowhee, North

Carolina as described in Book 1898, Pages 775-777 in the Register of Deeds

for Jackson County and identified in the Verified Complaint, other than

JPMorgan, whose interest was transferred; Flagstar, whose claim to the

Defendant Property was resolved pursuant to the terms of the Consent

Order; and Mark Loren Miller, whose interest was forfeited to the United

States.

      IT IS FURTHER, ORDERED, ADJUDGED, AND DECREED that with

the exception of Flagstar’s claim as resolved pursuant to the terms of the

Consent Order [Doc. 35], any right, title and interest of all other persons and

entities in the world to the real property located at 129 Reservoir Ridge Drive,

Cullowhee, North Carolina as described in Book 1898, Pages 775-777 in the


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Register of Deeds for Jackson County and identified in the Verified

Complaint, is hereby forfeited to the United States, and no other right, title,

or interest shall exist, and the forfeiture of the Defendant Property is final.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the

United States Marshal is hereby directed to dispose of the real property

located at 129 Reservoir Ridge Drive, Cullowhee, North Carolina as

described in Book 1898, Pages 775-777 in the Register of Deeds for Jackson

County and identified in the Verified Complaint, as provided by law, and

consistent with the terms of the Consent Order with Flagstar [Doc. 35].

      IT IS SO ORDERED.
                              Signed: October 2, 2020




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